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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE


    In re
                                                                 Chapter 11

    Lordstown Motors Corp., et al.,1                             Case No. 23-10831 (MFW)
                                                                 (Jointly Administered)

                                          Debtors.               Objection Deadline:
                                                                 February 2, 2024 at 4:00 p.m. (ET)

                                                                 Hearing Date:
                                                                 February 22, 2024 at 10:30 a.m. (ET)

      DEBTORS’ SECOND MOTION FOR ENTRY OF AN ORDER EXTENDING THE
     DEADLINE BY WHICH DEBTORS MAY FILE NOTICES TO REMOVE ACTIONS

             Lordstown Motors Corp. (“LMC”), Lordstown EV Corporation, and Lordstown EV Sales

LLC (collectively, the “Debtors”), the debtors and debtors in possession in the above-captioned

cases, file this motion (the “Motion”) pursuant to 28 U.S.C. § 1452, rules 9006(b) and 9027 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 9006-2 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

of Delaware (the “Local Rules”) for entry of an order, substantially in the form attached as Exhibit

A (the “Proposed Order”), approving the extension of the deadline by which the Debtor may

remove actions. In support of this Motion, the Debtors state as follows:

                                             RELIEF REQUESTED

                         Pursuant to Bankruptcy Rule 9027(a)(2), the time period by which the Debtors may

file notices of removal of claims and causes of action pursuant to 28 U.S.C. § 1452 was initially




1
       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
       Corporation (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
       service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.




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set to expire on September 25, 2023.2 On September 22, 2023, the Debtors filed a Motion for

Entry of an Order Extending the Deadline by which Debtors May File Notices to Remove Actions

[Docket No. 466]. On October 16, 2023, the Bankruptcy Court entered an order approving this

motion and extending the deadline to remove actions to January 23, 2024 (“Removal Deadline”).

See Docket No. 555.

                         By this Motion, pursuant to 28 U.S.C. § 1452, Bankruptcy Rules 9006(b) and 9027,

and Local Rule 9006-2, the Debtors request entry of an order extending the Removal Deadline by

approximately 120 days, through and including May 22, 2024 with respect to all matters pending

as of the Petition Date as specified in Bankruptcy Rule 9027(a)(2) (the “Prepetition Actions”) in

addition to any and all matters initiated after the Petition Date as specified in Bankruptcy Rule

9027(a)(3) (the “Postpetition Actions,” together with the Prepetition Actions,” the “Actions”).3

                         The Debtors further request that the Order approving this Motion be entered

without prejudice to (a) any position the Debtors may take regarding whether section 362 of title

11 of the United States Code (the “Bankruptcy Code”) applies to stay any given Action, and (b)

the right of the Debtors to seek further extensions of the Removal Deadline.

                         JURISDICTION, VENUE, AND PREDICATES FOR RELIEF

                         This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference, dated February 29, 2012 (Sleet, C.J.). This

is a core proceeding under 28 U.S.C. § 157(b). Venue of these Chapter 11 Cases (as defined

below) and this Motion is proper in this District under 28 U.S.C. §§ 1408 and 1409.



2
       Bankruptcy Rule 9027(a)(2) provides that the time period will expire ninety (90) days from the Petition Date.

3
       Pursuant to Local Rule 9006-2, the filing of this Motion prior to the expiration of the Removal Deadline
       automatically extends such deadline until such time as the Court rules on this Motion.

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                      The predicates for the relief requested by this Motion are 28 U.S.C. § 1452, section

105(a) of the Bankruptcy Code, Bankruptcy Rules 9006(b) and 9027, and Local Rule 9006-2.

                      Pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a final

judgment or order with respect to this Motion if it is determined that this Court lacks Article III

jurisdiction to enter such final order or judgment absent consent of the parties.

                                               BACKGROUND

                      On June 27, 2023 (the “Petition Date”), the Debtors each commenced with this

Court a voluntary case under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11

Cases”). These Chapter 11 Cases are being jointly administered for procedural purposes only

pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1. The Debtors continue to operate

their businesses and manage their properties as debtors in possession pursuant to sections 1107(a)

and 1108 of the Bankruptcy Code. On July 11, 2023, the Office of the United States Trustee for

the District of Delaware (the “U.S. Trustee”) appointed the official committee of unsecured

creditors (the “Creditors Committee”) pursuant to section 1102 of the Bankruptcy Code. [D.I.

99]. On September 7, 2023, the U.S. Trustee appointed the official committee of equity security

holders (the “Equity Committee”) pursuant to section 1102 of the Bankruptcy Code. [D.I. 375].

No trustee or examiner been appointed in these Chapter 11 Cases.

                      Additional factual background and information regarding the Debtors, including

their business operations, their corporate and capital structure, and the events leading to the

commencement of these chapter 11 cases, is set forth in detail in forth in the Declaration of Adam

Kroll in Support of the Debtors’ Chapter 11 Petitions and First Day Motions. [D.I. 15].

                      On September 1, 2023, the Debtors filed a chapter 11 plan (“Plan”), which has

subsequently been modified and amended. See Docket Nos. 360, 605, 635, 657. On November


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1, 2023, the Bankruptcy Court entered an order approving the disclosure statement and the plan

solicitation and voting procedures [Docket No. 651] (the “Disclosure Statement Order”).

                      On October 18, 2023, the Court entered an order approving the sale of certain of

the Debtors assets to LAS Capital LLC and its assignee LandX Motors Inc. (collectively, the

“Purchaser”) [Docket No. 586]. The sale to the Purchaser closed on October 27, 2023.

                                     BASIS FOR RELIEF REQUESTED

                      Section 1452 of title 28 of the United States Code and Bankruptcy Rule 9027

govern the removal of pending civil actions. Specifically, 28 U.S.C. § 1452(a) provides:

                      A party may remove any claim or cause of action in a civil action
                      other than a proceeding before the United States Tax Court or a civil
                      action by a governmental unit to enforce such governmental unit’s
                      police or regulatory power, to the district court for the district where
                      such civil action is pending, if such district court has jurisdiction of
                      such claim or cause of action under section 1334 of this title.
28 U.S.C. § 1452(a).

                      Bankruptcy Rule 9027(a)(2) further provides, in pertinent part:

                      If the claim or cause of action in a civil action is pending when a
                      case under the [Bankruptcy] Code is commenced, a notice of
                      removal may be filed only within the longest of (A) 90 days after
                      the order for relief in the case under the [Bankruptcy] Code, (B) 30
                      days after entry of an order terminating a stay, if the claim or cause
                      of action in a civil action has been stayed under § 362 of the
                      [Bankruptcy] Code, or (C) 30 days after a trustee qualifies in a
                      chapter 11 reorganization case but not later than 180 days after the
                      order for relief.

Fed. R. Bankr. P. 9027(a)(2).

                      With respect to post-petition actions, Bankruptcy Rule 9027(a)(3) provides that a

notice of removal may be filed:

                      only within the shorter of (A) 30 days after receipt, through service
                      or otherwise, of a copy of the initial pleading setting forth the claim
                      or cause of action sought to be removed, or (B) 30 days after receipt

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                      of the summons if the initial pleading has been filed with the court
                      but not served with the summons.

Fed. R. Bankr. P. 9027(a)(3).

                      Bankruptcy Rule 9006(b) provides that the Court may extend unexpired time

periods, such as the Removal Deadline, without notice:

                      [W]hen an act is required or allowed to be done at or within a
                      specified period by these rules or by a notice given thereunder or by
                      order of court, the court for cause shown may at any time in its
                      discretion . . . with or without motion or notice order the period
                      enlarged if the request therefor is made before the expiration of the
                      period originally prescribed or as extended by a previous order . . . .

Fed. R. Bankr. P. 9006(b)(1).

                      It is well settled that this Court is authorized to extend, for cause, the removal period

provided under 28 U.S.C. § 1452 and Bankruptcy Rule 9027. See Pacor, Inc. v. Higgins, 743 F.2d

984, 996 n.17 (3d Cir. 1984), overruled on other grounds by, Things Remembered, Inc. v. Petrarca,

516 U.S. 124, 134-35 (1995) (holding that the bankruptcy court’s power to grant an extension of

the removal period pursuant to Bankruptcy Rule 9006(b) is “clear”); see also In re TK Holdings

Inc., 2018 WL 1306271, at *46 (Bankr. D. Del. Mar. 18, 2010) (extending the time provided by

Bankruptcy Rule 9027 to remove a civil action under 28 U.S.C. § 1452); In re The Hertz Corp. et

al., Case No. 20-11218 (MFW) (Bankr. D. Del. Aug. 10, 2020) (extending the removal period by

120 days without prejudice to right of debtors to seek further extensions); In re PWM Property

Management LLC, et al., Case No. 21-11445 (MFW) (Bankr. D. Del. Feb. 3, 2022) (same); In re

Virgin Orbit Holdings, Inc. et al., Case No. 23-10405 (KBO) (Bankr. D. Del. July 18, 2023)

(same).

                       The Debtors submit that ample cause exists to extend the Removal Deadline.

While the Debtors do not currently believe there are any Actions that need to be removed, the

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Debtors and their professionals have not yet had the opportunity to properly consider, or make

decisions concerning, all Actions currently pending. Further, the Equity Committee is still

conducting its review of the Actions. Therefore, the Debtors believe that it is prudent to seek an

extension of the Removal Deadline to preserve the rights of the Debtors and their estates to

potentially remove any Actions, if necessary.

                      Since this Court granted the Debtors’ first request to extend the deadline to remove

Actions, the Debtors have been focused on successfully completing the marketing and sale of

certain of the Debtors’ assets. The Debtors worked diligently to finalize the asset sale to the

Purchaser, obtained the Court’s approval the sale, and closed the transaction.

                      Additionally, the Debtors have focused their efforts on negotiating and proposing

a value maximizing Chapter 11 plan that would allow the Debtors to exit Chapter 11. To that end,

the Debtors have proposed and solicited votes to accept or reject the Plan. The Debtors have been

engaged in extensive negotiations with certain major stakeholders to make the Plan as consensual

as possible. Such constituencies include: Hon Hai Precision Industry Co., Ltd. (a/k/a Hon Hai

Technology Group), Foxconn EV Technology, Inc., and Foxconn EV System LLC (collectively,

“Foxconn”); the Creditors Committee; the Equity Committee; the United States Securities and

Exchange Commission (“SEC”); and claimants from the six putative securities class action

lawsuits (docket numbers 4:21-cv-616, 4:21-cv-633, 4:21-cv-720, 4:21-cv-760, 4:21-cv-994, and

4:21-cv-1021) filed against LMC, LEVC and certain individuals in the U.S. District Court for the

Northern District of Ohio, consolidated into the action styled, In re Lordstown Motors Corp.

Securities Litigation, Case No. 4:21-cv-00616 (DAR) (the “Ohio Securities Class Action”).




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                      The Debtors believe that the Debtors and their stakeholders have made substantial

progress toward resolving open Plan issues and expect to be able to move forward with confirming

the Plan in the near term.

                      Given the Debtors’ focus to date, the Debtors have not had sufficient time to

evaluate any pending Actions and possible removal pursuant to Bankruptcy Rule 9027(a).

Accordingly, the Debtors believe the current Removal Deadline of January 23, 2024 would not

provide sufficient time for the Debtors to determine conclusively which Actions, if any, they

should seek to remove. The extension sought will afford the Debtors an opportunity to make more

fully-informed decisions concerning the existence of any Actions and their removal, and will

ensure that the Debtors and their estates do not forfeit the valuable rights afforded to them under

28 U.S.C. § 1452. Absent the requested extension, the Debtors will not be able to complete this

review adequately, and the result could, among other things, unnecessarily hinder the Debtors’

ability to recover assets for the benefit of their estates. Furthermore, the Debtors submit that

granting the extension requested herein will not prejudice the rights of any adversary in an existing

Action because such parties are prevented from prosecuting Actions absent relief from the

automatic stay. In addition, nothing herein will prejudice any party to an existing Action that the

Debtors may ultimately attempt to remove from seeking the remand of such action under 28 U.S.C.

§ 1452(b) at the appropriate time.

                      For the reasons set forth above, the Debtors submit that extending the current

Removal Deadline through and including May 22, 2024 is necessary, prudent, and in the best

interests of the Debtors, their estates, and creditors.




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                                                    NOTICE

                      Notice of this Motion has been provided to the following parties, or, in lieu thereof,

their counsel:          (i) the U.S. Trustee; (ii) counsel to Foxconn; (iii) counsel to the Creditors

Committee, (iv) counsel to the Equity Committee; (v) the Internal Revenue Service; (vii) the

Securities and Exchange Commission; (viii) the United States Attorney for the District of

Delaware; (ix) the state attorneys general for all states in which the Debtors conduct business;

(x) any parties who have asserted liens against the Debtors’ assets; (xii) any party affected by the

Motion; and (x) any such other party entitled to receive notice pursuant to Bankruptcy Rule 2002

and Local Rule 2002-1(b). The Debtors submit that, in view of the facts and circumstances, such

notice is sufficient, and no other or further notice need be provided.

                                                CONCLUSION

          WHEREFORE, for the reasons set forth herein, the Debtors respectfully request that the

Court grant the relief requested in this Motion and such other and further relief as is just and proper.

                                 [Remainder of page intentionally left blank.]




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